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                             Judicial Watch, Inc. v. U.S. Department of Justice, No. 17-cv-832 (D.D.C.)

This tabular Vaughn index contains descriptions of records withheld in full or in part by the U.S. Department of Justice, pursuant to
Exemption 5 of the Freedom of Information Act, 5 U.S.C.§ 552(b)(5).




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                                                                Documents Withheld in Full

Basis of Withholding                                                        Description of Withheld Material
                        These documents are emails (sometimes with attachments) among DOJ attorneys at various DOJ components and emails from DOJ
                        attorneys to other agencies. They are all either inter-agency or intra-agency communications. The emails and attachments include
                        attorney notes, opinions, and recommendations for actions in specific, ongoing, or anticipated cases. The attorney work-product
                        doctrine of Exemption 5 protects the entirety of these emails and attachments because they are discussions relating to proposed
Attorney Work-Product   Departmental actions created in reasonable anticipation of litigation. Additionally, the emails include the opinions and
     Doctrine and       recommendations of attorneys regarding case strategy. Futhermore, some of these emails are also covered by the deliberative process
 Deliberative Process   privilege because DOJ attorneys are expressing opinions to supervisors regarding proposed actions in various cases. The emails
       Privilege        expressing opinions all predate the final decisions and are therefore predecisional. They are deliberative because they include attorneys’
                        recommendations and opinions on how to proceed. Revealing such opinions would hinder the ability of agency staff to provide candid
                        evaluations and recommendations.

                        Documents 5153-1, 5156-1, 5164-1, and 5182-1 are working drafts of the memorandum issued by Acting Attorney General Yates on
                        January 30, 2017, instructing Department of Justice officials not to defend the validity of Executive Order 13,769. Document 5303-1 is
                        a working draft of a statement that was never issued by Acting Attorney General Yates. These documents are withheld in full pursuant
                        to the deliberative process privilege; they do not contain any segregable, non-exempt information.

                        Documents 5190, 5213, 5217, 5221, 5242, 5243, 5245, 5268, and 5269 are intra-agency email chains in which Department of Justice
                        officials discuss and analyze developments in litigation related to Executive Order 13,679. Document 5190-1 is an intra-agency
                        memorandum attached to one such email, discussing and analyzing such developments. These documents are withheld in full pursuant
                        to the attorney work-product doctrine and the deliberative process privilege; they do not contain any segregable, non-exempt
                        information.

                        Document 5189 is a brief, forwarded email containing legal advice about the interpretation of Executive Order 13,679, sent in
                        anticipation of pending litigation. Document 5596 is an intra-agency email chain discussing and analyzing developments in a case to
                        which the Department of Justice was a party. Document 5697 is an intra-agency email chain discussing anticipated litigation.
                        Document 5712 is a brief intra-agency memorandum sent via email, discussing and analyzing developments in a case to which the
                        Department of Justice was a party. Document 5853 is a brief intra-agency memorandum sent via email, describing arrests that were
                        expected to lead to prosecutions by the Department of Justice. These documents are withheld in full pursuant to the attorney work-
                        product doctrine and the deliberative process privilege; they do not contain any segregable, non-exempt information.

                        Document 6792 is an email listing attendees at a meeting. It is withheld in full under the deliberative process privilege, as its release
                        would necessarily reveal the protected subject matter of this deliberative meeting. It does not contain any segregable, non-exempt
                        information.

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                                                               Documents Witheld in Part1


       These documents are primarily emails between DOJ attorneys and emails from DOJ attorneys to other Executive Branch officials.
       They are all either inter-agency or intra-agency communications. In general, the emails contain deliberations about proposed agency
       actions and include ideas and recommendations expressed prior to a final decision being made.

       The deliberative process privilege of Exemption 5 protects portions of these emails. Some of these emails and attachments (or
       portions of emails and attachments) are deliberative because they contain suggested edits that reflect Departmental deliberations on
       issues where no final determination had been finalized or formalized. Further, some of the attachments are successive versions of
       documents and show the internal development of the Department’s decisions. All of the records withheld in this category pre-date the
       Department’s final determinations in each decision-making process and, as such, they are pre-decisional, inasmuch as they precede
       and do not embody final agency responses.

       Some of the withheld material is also protected by the attorney work-product doctrine.

       The documents are listed in the order they are discussed in the accompanying brief.


 Doc. ID       From         To / CC        Date            Subject                                             FOIA Exemption &
                                                                                                        Description of Withheld Material
5219         Withheld     Withheld      Withheld    Fwd: EMERGENCY            Documents 5219 is an email chain beginning with three emails from plaintiffs’
                                                    Motion in Darweesh        counsel in Darweesh v. Trump, No. 1:17-cv-480 (E.D.N.Y.). The remainder of
                                                    et al. v. Trump et al.,   this email chain, in which Department of Justice officials discuss that pending
                                                    No. 1:17-cv-480           litigation, is withheld pursuant to the attorney work-product doctrine and the
                                                    (EDNY)                    deliberative process privilege.

                                                                              Attorney Work Product. This document contains emails among DOJ attorneys
                                                                              at various DOJ components and emails from DOJ attorneys to other agencies and
                                                                              are all either inter-agency or intra-agency communications. The emails and
                                                                              attachments include attorney notes, opinions, and recommendations for actions in
                                                                              specific, ongoing or anticipated cases. These discussions are relating to proposed
                                                                              Departmental actions created in reasonable anticipation of litigation. Here, OIP is

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           The envelope information provided correlates to the last in time email in each email chain.
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                                                                    releasing only the portion of the email that was not intra-agency or inter-agency
                                                                    communication.

                                                                    Deliberative Process. These emails include the opinions and recommendations of
                                                                    attorneys regarding case strategy. Futhermore, some of these emails are also
                                                                    covered by the deliberative process privilege because DOJ attorneys are expressing
                                                                    opinions to supervisors regarding proposed actions in various cases. The emails
                                                                    expressing opinions all predate the final decisions and are therefore predecisional.
                                                                    They are deliberative because they include attorneys’ recommendations and
                                                                    opinions on how to proceed. Revealing such opinions would hinder the ability of
                                                                    agency staff to provide candid evaluations and recommendations.
5253   Withheld   Withheld     Withheld   Fwd: EMERGENCY            Documents 5253 is an email chain beginning with the same three emails from
                                          Motion in Darweesh        plaintiffs’ counsel in Darweesh v. Trump, No. 1:17-cv-480 (E.D.N.Y.). The
                                          et al. v. Trump et al.,   remainder of this email chain, in which Department of Justice officials discuss that
                                          No. 1:17-cv-480           pending litigation, is withheld pursuant to the attorney work-product doctrine and
                                          (EDNY)                    the deliberative process privilege.

                                                                    Attorney Work Product. This document contains emails among DOJ attorneys
                                                                    at various DOJ components and emails from DOJ attorneys to other agencies and
                                                                    are all either inter-agency or intra-agency communications. The emails and
                                                                    attachments include attorney notes, opinions, and recommendations for actions in
                                                                    specific, ongoing or anticipated cases. These discussions are relating to proposed
                                                                    Departmental actions created in reasonable anticipation of litigation. Here, OIP is
                                                                    releasing only the portion of the email that was not intra-agency or inter-agency
                                                                    communication.

                                                                    Deliberative Process. These emails include the opinions and recommendations of
                                                                    attorneys regarding case strategy. Futhermore, some of these emails are also
                                                                    covered by the deliberative process privilege because DOJ attorneys are expressing
                                                                    opinions to supervisors regarding proposed actions in various cases. The emails
                                                                    expressing opinions all predate the final decisions and are therefore predecisional.
                                                                    They are deliberative because they include attorneys’ recommendations and
                                                                    opinions on how to proceed. Revealing such opinions would hinder the ability of
                                                                    agency staff to provide candid evaluations and recommendations.
5251   Withheld   Withheld     Withheld    FW: Aziz v. Trump,       Document 5251 is an email chain beginning with emails involving plaintiffs’
                                          revised Order             counsel in Aziz v. Trump, No. 1:17-cv-116 (E.D. Va.). The remainder of this email


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                                                                    chain, in which officials from the Department of Justice discuss that pending
                                                                    litigation, are withheld pursuant to the attorney work-product doctrine and the
                                                                    deliberative process privilege

                                                                    Attorney Work Product. This document contains emails among DOJ attorneys
                                                                    at various DOJ components and emails from DOJ attorneys to other agencies and
                                                                    are all either inter-agency or intra-agency communications. The emails and
                                                                    attachments include attorney notes, opinions, and recommendations for actions in
                                                                    specific, ongoing or anticipated cases. These discussions are relating to proposed
                                                                    Departmental actions created in reasonable anticipation of litigation.

                                                                    Here, OIP is releasing only the portion of the email that was not intra-agency or
                                                                    inter-agency communication.
5251-5   Withheld   Withheld       Withheld   FW: Motion for TRO    Document 5251-5 is an email chain beginning with an email involving plaintiffs’
                                              -- Dulles Airport     counsel in Aziz v. Trump, No. 1:17-cv-116 (E.D. Va.). The remainder of this email
                                              situation, Aziz v.    chain, in which officials from the Department of Justice discuss that pending
                                              Trump                 litigation, are withheld pursuant to the attorney work-product doctrine and the
                                                                    deliberative process privilege

                                                                    Attorney Work Product. This document contains emails among DOJ attorneys
                                                                    at various DOJ components and emails from DOJ attorneys to other agencies and
                                                                    are all either inter-agency or intra-agency communications. The emails and
                                                                    attachments include attorney notes, opinions, and recommendations for actions in
                                                                    specific, ongoing or anticipated cases. These discussions are relating to proposed
                                                                    Departmental actions created in reasonable anticipation of litigation.

                                                                    Here, OIP is releasing only the portion of the email that was not intra-agency or
                                                                    inter-agency communication.
5203     Axelrod,   Yates, Sally   1/29/17    Fwd: Quick question   Deliberative Process. The withheld information consists of internal deliberations
         Matthew                                                    about how to address inquiries regarding the EO. The information is pre-
                                                                    decisional, as the deliberations were ongoing and Defendant had not yet
                                                                    determined how to respond to such inquiries. It is deliberative because it relects
                                                                    the recommendations and advice of Department of Justice officials. Disclosure of
                                                                    the information reasonably could be expected to chill the open and frank
                                                                    expression of ideas, recommendations, and opinions that occur when Department
                                                                    of Justice officials develop press statements and guidance on a sensitive matter.


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5204   Axelrod,   Yates, Sally   1/29/17   Re: Press             Deliberative Process. The withheld information consists of proposed press
       Matthew                                                   guidance to Executive Branch officials for use in addressing inquiries regarding
                                                                 Executive Order 13,769 (the “EO”). The information is pre-decisional: it was not
                                                                 authorized as an official press statement, and Defendant had not yet determined
                                                                 how to respond to press inquiries. It is deliberative because it relects the
                                                                 recommendations and advice of Executive Branch officials. Disclosure of the
                                                                 information reasonably could be expected to chill the open and frank expression of
                                                                 ideas, recommendations, and opinions that occur when Executive Branch officials
                                                                 develop press guidance on a sensitive matter.

5205   Yates,     Axelrod,       1/29/17   Re: Press             Deliberative Process. This document is an email containing the same proposed
       Sally      Matthew                                        press guidance contained in Document 5204.

5212   Axelrod,   Yates, Sally   1/29/17   Fwd: Quick question   Deliberative Process. The withheld information consists of internal deliberations
       Matthew                                                   about how to address inquiries regarding the EO. The information is pre-
                                                                 decisional, as the deliberations were ongoing and Defendant had not yet
                                                                 determined how to respond to such inquiries. It is deliberative because it relects
                                                                 the recommendations and advice of Department of Justice officials. Disclosure of
                                                                 the information reasonably could be expected to chill the open and frank
                                                                 expression of ideas, recommendations, and opinions that occur when Department
                                                                 of Justice officials develop press statements and guidance on a sensitive matter.
5244   Axelrod,   Yates, Sally   1/28/17   Fwd: EO review        Deliberative Process. The withheld information consists of recommendations and
       Matthew                                                   proposals for a press statement to Department of Justice officials for use in
                                                                 addressing inquiries regarding the EO. The information is pre-decisional, as it was
                                                                 provided prior to a final decision being made about how to respond to press
                                                                 inquiries. It is deliberative because it relects the recommendations and advice of
                                                                 Department of Justice employees regarding various approaches. Disclosure of the
                                                                 information reasonably could be expected to chill the open and frank expression of
                                                                 ideas, recommendations, and opinions that occur when Department of Justice
                                                                 officials develop press statements on a sensitive matter.

                                                                 Note: Page 4 and part of page 3 of this document are an exact duplicate of
                                                                 Document 5257.
5257   Axelrod,   Yates, Sally   1/28/17   Fwd: EO review        Deliberative Process. The withheld information consists of a draft press
       Matthew                                                   statement to Department of Justice officials for use in addressing inquiries
                                                                 regarding the EO. The information is pre-decisional: it was not authorized as an

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                                                              official press statement, and Defendant had not yet determined how to respond to
                                                              press inquiries. It is deliberative because it relects the recommendations and
                                                              advice of Department of Justice employees. Disclosure of the information
                                                              reasonably could be expected to chill the open and frank expression of ideas,
                                                              recommendations, and opinions that occur when Department of Justice officials
                                                              develop press statements on a sensitive matter.
5207   Axelrod,   Yates, Sally   1/29/17   Re: Call with      Deliberative Process. The withheld information consists of internal Department
       Matthew                                                of Justice deliberations addressing the EO. The information is pre-decisional, as
                                                              the deliberations are still ongoing and no responses have yet been determined and
                                                              been provided to the public. It is deliberative because it relects the thoughts of
                                                              Department of Justice employees. Disclosure of the information reasonably could
                                                              be expected to chill the open and frank expression of ideas, recommendations, and
                                                              opinions that occur when Department of Justice officials deliberate on important
                                                              matters.

5214   Axelrod,   Yates, Sally   1/29/17   Fwd: Process       Deliberative Process. The withheld information consists of internal discussions
       Matthew                                                about internal departmental processes and procedures. Disclosure of the
                                                              information reasonably could be expected to chill the open and frank expression of
                                                              ideas, recommendations, and opinions that occur when Department of Justice
                                                              officials discuss options for internal processes and procedures.
5267   Axelrod,   Yates, Sally   1/28/17   Fwd: NPR piece     Deliberative Process. The withheld information consists of internal discussions
       Matthew                                                between Department of Justice officials about press inquiries regarding EO. The
                                                              information is pre-decisional, as it is not an official statement and officials were
                                                              having an internal discussion about how to handle press inquiries. It is deliberative
                                                              because it relects the recommendations and advice of Department of Justice
                                                              officials. Disclosure of the information reasonably could be expected to chill the
                                                              open and frank expression of ideas, recommendations, and opinions that occur
                                                              when Department of Justice officials develop press statements on a sensitive
                                                              matter.
5845   Yates,     Axelrod,       1/21/17   Re: Civil Rights   Deliberative Process. The withheld information consists of internal deliberations
       Sally      Matthew                  followup           addressing inquiries regarding civil rights litigation. The information is pre-
                                                              decisional, as the deliberations are ongoing and Defendant had not yet determined
                                                              how to respond to the inquiries. It is deliberative because it relects the
                                                              recommendations and advice of Department of Justice employees. Disclosure of
                                                              the information reasonably could be expected to chill the open and frank



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                                                                  expression of ideas, recommendations, and opinions that occur when Department
                                                                  of Justice officials have internal discussions.
5246   Axelrod,    Yates, Sally   1/28/17   Fwd: EDVA matter      Deliberative Process. The withheld information consists of internal Department
       Matthew                                                    of Justice deliberations addressing an ongoing matter. The information is pre-
                                                                  decisional, as the deliberations are still ongoing and no responses had yet been
                                                                  determined or provided to the public. It is deliberative because it relects the
                                                                  thoughts of Department of Justice officials. Disclosure of the information
                                                                  reasonably could be expected to chill the open and frank expression of ideas,
                                                                  recommendations, and opinions that occur when Department of Justice officials
                                                                  deliberate on important matters.

                                                                  Attorney Work Product. This document contain emails among DOJ attorneys at
                                                                  various DOJ components and emails from DOJ attorneys to other agencies and are
                                                                  all either inter-agency or intra-agency communications. The emails and
                                                                  attachments include attorney notes, opinions, and recommendations for actions in
                                                                  specific, ongoing or anticipated cases. These discussions are relating to proposed
                                                                  Departmental actions created in reasonable anticipation of litigation.

5415   Goldsmith, Yates, Sally    1/26/17                         Attorney Work Product. This document contains emails among DOJ attorneys
       Andrew     Crowell,                                        at various DOJ components and emails from DOJ attorneys to other agencies
                  James                                           which are all either inter-agency or intra-agency communications. The emails and
                                                                  attachments include attorney notes, opinions, and recommendations for actions in
                                                                  specific, ongoing or anticipated cases. These discussions are relating to proposed
                                                                  Departmental actions created in reasonable anticipation of litigation.
5475   Gauhar,     Yates, Sally   1/25/17   FW: FISC - Misc 13-   Deliberative Process. The withheld information consists of an internal discussion
       Tashina     Axelrod,                 08 - For Service on   between Department of Justice officials, specifically addressing FISC opinions. It
                   Matthew                  all parties           is deliberative because it relects the opinion of a Department of Justice official
                                                                  regarding the impact of a decision. Disclosure of the information reasonably could
                                                                  be expected to chill the open and frank expression of ideas, recommendations, and
                                                                  opinions that occur when Department of Justice officials have internal discussions.
5581   Axelrod,    Yates, Sally   1/24/17   Fwd: Arizona/PIN      Deliberative Process. The withheld information consists of an internal discussion
       Matthew                              matter                between Department of Justice officials, specifically addressing a pending matter.
                                                                  It is deliberative because it relects the opinion of a Department of Justice official.
                                                                  Disclosure of the information reasonably could be expected to chill the open and
                                                                  frank expression of ideas, recommendations, and opinions that occur when



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                                                                             Department of Justice officials have internal discussions expressing opinions of
                                                                             pending matters.

                                                                             Attorney Work Product. This document contains emails among DOJ attorneys
                                                                             at various DOJ components and emails from DOJ attorneys to other agencies and
                                                                             are all either inter-agency or intra-agency communications. The emails include
                                                                             attorney notes, opinions, and recommendations for actions in specific, ongoing or
                                                                             anticipated cases. These discussions are related to proposed Departmental actions
                                                                             created in reasonable anticipation of litigation.
5846           Axelrod,     Yates, Sally   1/21/17    Fwd: 851 sentencing    Deliberative Process. The withheld information consists of an internal discussion
               Matthew                                enhancement data for   between Executive Branch officials. It is deliberative because it relects the opinion
                                                      FY16                   of Executive Branch officials regarding preliminary sentencing data.. Disclosure
                                                                             of the information reasonably could be expected to chill the open and frank
                                                                             expression of ideas, recommendations, and opinions that occur when Department
                                                                             of Justice officials have internal discussions.
5276.1                                     1/27/172   Sensitive or High-     Deliberative Process. This document was attached to an email that was released
                                                      Profile Matters        in full. (Doc. ID - 0.7.10904.5276, with subject FW: 2 week look ahead). The
                                                      Within Next Two        withheld information consists of internal Department of Justice deliberations about
                                                      Weeks                  ongoing matters. The information is pre-decisional, as the deliberations were still
                                                                             ongoing and no responses had yet been determined and been provided to the
                                                                             public. It is deliberative because it relects the thoughts of Department of Justice
                                                                             employees. Disclosure of the information reasonably could be expected to chill
                                                                             the open and frank expression of ideas, recommendations, and opinions that occur
                                                                             when Department of Justice officials deliberate on important matters.

                                                                             Attorney Work Product. This document contains summaries written by DOJ
                                                                             attorneys at various DOJ components about pending or anticipated litigation. The
                                                                             summaries include attorney notes, opinions, and recommendations for actions in
                                                                             specific, ongoing or anticipated cases. These discussions are related to
                                                                             Departmental actions proposed to be taken in reasonable anticipation of litigation.




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             Using the date of the email for the date of the attachment. Attachment does not have a specific date.
                                                                               9
